          Case 1:11-cr-00270-JRH-BKE Document 333 Filed 07/31/15 Page 1 of 1


                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE        SOUTHERN DISTRICT OF GEORGIA
                                                AUGUSTA DIVISION


UNITED STATES OF AMERICA,                                  *


                v.                                         *                      CR   111-270
                                                           *


ABDUL JABBAR         MACK.                                 *




                                                    ORDER




        Defendant       has    filed        a     motion       for       reduction          of    sentence     under          18

U.S.C.    § 3582(c)(2)         on the basis that Amendment                           782 to the United States

Sentencing         Guidelines        has        revised            the   guidelines              applicable        to    drug

trafficking          offenses.          Even       though Amendment                  782     became        effective          on

November      1,     2014,    no     defendant        may           be    released          on    the     basis     of    the

retroactive amendment before November 1,                                 2 015.      See U.S.S.G.           Amend.       788.

Thus#     the      Court      will      undertake              a     review       of    cases          involving         drug

trafficking          offenses      in       due    course.               If   Defendant           is    entitled         to    a

sentence        reduction       as      a    result       of        amendments          to       the      United    States


Sentencing Guidelines,               the Court will make such a reduction sua sponte.

Accordingly, Defendant's motion (doc. no. 332) is DEFERRED.1

        ORDER ENTERED at Augusta, Georgia, this <J^>/                                       day of July, 2015.



                                                    HONORABLE J. RANDAL HALL
                                                    UNITE0 STATES DISTRICT JUDGE
                                                    SOUTHERN DISTRICT                  OF   GEORGIA




1       The   Court    DIRECTS       the     Clerk   to        TERMINATE       the     motion       for    administrative
purposes.
